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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


 ELROY RICHMAN,                            )
                                           )
       Plaintiff,                          )
                                           )       Case No. 2:18-cv-2306-JPM-dkv
 v.                                        )
                                           )
 VETERANS AFFAIRS HOSPITAL,                )
                                           )
       Defendant.                          )


                                    JUDGMENT



JUDGMENT BY COURT. This action having come before the Court on the Veterans
Affairs Hospital’s Motion to Dismiss, filed on May 3, 2018 (ECF No. 2), and the Court
having entered an Order of Dismissal (ECF No. 9),

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with
the Order Adopting the Report and Recommendation, this action is DISMISSED WITHOUT
PREJUDICE.


APPROVED:

 /s Jon McCalla
JON P. McCALLA
UNITED STATES DISTRICT JUDGE

 August 21, 2018
Date
